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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )
                                                )
v.                                              )    No. 07-10180-03
                                                )
JOHN R. PERSAUD,                                )
                                                )
                        Defendant.              )
                                                )


                                     Memorandum and Order

       This matter came before the court on the defendant’s objections to the Presentence

Report and for sentencing. The court orally denied the objections at the sentencing hearing of

November 20, 2009. This written memorandum will supplement the court’s oral ruling.

       I. Objections.

       Objection No. 1 - Defendant objects to consideration of the assets listed in ¶ 334 because

he contends the assets are owned solely by his spouse. After reviewing the PSR, the court

concludes that it need not make a ruling on this objection, because the disputed matter will not

be taken into account and will not affect the sentence. See Fed.R.Crim.P. 32(h)(i)(3).

       Objection No. 2 - Defendant’s second objection is to the Special Condition of

Supervision in ¶ 335 that he not use or obtain any credit without the prior approval of the

probation officer. Defendant argues the offense did not involve any abuse of personal credit, and

he contends the restriction is not warranted.

       The court may generally impose any of the discretionary conditions of probation in

section 3563(b), and may impose any other condition that it considers to be appropriate, to the
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extent that such condition (1) is reasonably related to the factors set forth in section 3553(a)(1) &

(a)(2)(B)-(D); (2) involves no greater deprivation of liberty than is reasonably necessary for the

purposes set forth in section 3553(a)(2)(B)-(D); and (3) is consistent with any pertinent policy

statements issued by the Sentencing Commission pursuant to 28 U.S.C. 994(a). 18 U.S.C. §

3583(d). See United States v. Hanrahan, 508 F.3d 962, 970 (10th Cir. 2007).

       The court finds the credit restriction is reasonably related to the need to protect the public

from further instances of fraud by the defendant, and also finds that it will enable the Probation

Office to monitor the defendant’s financial activities and assist in the collection of restitution.

The restriction does not involve any greater restriction of liberty than necessary, is for a

reasonable period of time, and is consistent with the policies of the Sentencing Commission. Cf.

USSG Ch. 7, Pt. A(4) (“the purpose of supervision for ... supervised release should focus on the

integration of the violator into the community, while providing the supervision designed to limit

further criminal conduct.”). The objection is therefore denied.

       Objection No. 3 - The defendant also objects to the Condition of Supervision in ¶356,

which provides that the defendant “shall not be employed in any capacity in which the defendant

has discretionary authority over financial matters without the approval of the probation officer.”

Defendant argues such a restriction cannot be imposed absent more specific findings, and further

points out that the restriction can only be imposed for the minimum time necessary. (Citing

United States v. Wittig, 528 F.3d 1280 (10th Cir. 2008)).

       The court finds the restriction is appropriate. Section 3563(b)(5) permits the court to

impose an occupational restriction in circumstances such as this case. The defendant has a prior

history of engaging in fraudulent conduct, and the extensive course of fraudulent conduct in this


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case shows a direct relationship between his involvement in discretionary financial matters and

fraudulent conduct. He is likely to engage in such conduct again absent such a restriction. The

condition of supervision is necessary to protect the public and to ensure that the defendant

engages in a lawful occupation. The court further finds it is reasonable and necessary to apply

this condition for the full three-year term of supervised release. The objection is therefore

denied.

          II. Conclusion.

          The defendant’s objections to the Presentence Report are DENIED. The Probation

Officer in charge of this case shall see that a copy of this order is appended to any copy of the

Presentence Report made available to the Bureau of Prisons.

          IT IS SO ORDERED this 23rd        Day of November, 2009, at Wichita, Ks.


                                              s/Wesley E. Brown
                                              Wesley E. Brown
                                              U.S. Senior District Judge




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